






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-79,553-01




EX PARTE STUART L. LEEDS, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
FROM EL PASO COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Johnson, J., filed a concurring statement.


C O N C U R R I N G   S T A T E M E N T

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I join in the Court’s denial of relief with the understanding that relief was denied because
matters are still pending in the trial court. 
&nbsp;
&nbsp;
Filed: June 5, 2013
Do not publish


